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                                                                                               Wednesday, 11 December, 2019 12:19:34 PM
                                                                                                             Clerk, U.S. District Court, ILCD
AO 199A (Rev. 12/ 1 I) Order Setting Conditions of Release                                                        Page I of   3    Pages



                                         UNITED STATES DISTRICT COURT
                                                                          for the
                                                                Central District of Illinois


                    United States of America                                 )
                                    V.
                                                                             )
                            Willie Hedden                                    )        Case No. 19-30067-002
                                                                             )
                               Defendant
                                                                             )

                                         ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(1)   The defendant must not violate federal, state, or local law while on release.

(2)   The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3)   The defendant must advise the court or the pretrial services office or supervising officer in writing before making
      any change of residence or telephone number.

(4)   The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
      the court may impose.

      The defendant must appear at:                          U. S. District Court, 600 East Monroe St., Courtroom 3, Springfield, IL
                                                                                               Place
                          for an Initial Pretrial Conference before U.S. Magistrate Judge Tom Schanzle-Haskins

      on                                                         January 24, 2020 at 11 :00 AM
                                                                            Date and Time


      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance Bond, if ordered.
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AO 199B (Rev. 12/11) Additional Conditions of Release                                                                                                 Page   2   of   3      Pages
                                                        ADDITIONAL CONDITIONS OF RELEASE
        IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

( D)     (6) The defendant is placed in the custody of:
             Person or organization
             Address (only if above is an organi=ation)
             City and state                                                                              Tel. No.
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian's custody.

                                                                                 Signed: _ _ __ _ _ _ _ __ __ _ _ _ __
                                                                                                                  Custodian                                           Date
( [81 ) (7) The defendant must:
       (18]) (a) submit to supervision by and report for supervision to the         U.S. Probation Office, 600 East Monroe Street, Springfield
                     telephone number           217-492-1351       , no later than 10:00 a.m. on 12/9/19 and thereafter as directed .
       d8])  (b)     continue or actively seek employment.
       ( 0 ) (c)     continue or start an education program.
       ( 0 ) (d)     surrender any passport to:
       (~) (e)       not obtain a passport or other international travel document.
       (fg]) (f)     abide by the following restrictions on personal association, residence, or travel:         travel is restricted to the Central District of Illinois or as
                     otherwise approved by U.S. Probation.
       ( 18]) (g)    avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                     including: codefendants

       (0      ) (h) get medical or psychiatric treatment:

       ( 0 ) (i) return to custody each _ _ _ __                   at _ ___ o'clock after being released at _ __ _ _ o 'clock for employment, schooling,
                 or the following purposes:

       (0   ) (j) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                  necessary .
       ( ~ ) (k) not possess a firearm, destructive device, or other weapon.
       ( 18]) (I) not use alcohol ( D ) at all ( [81 ) excessively. Excessive is defined as the legal limit of intoxication in the state where you are present.
       ( ~ ) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                 medical practitioner.
       (0  ) (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
                 random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
                 prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and
                 accuracy of prohibited substance screening or testing.
       (0 ) (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                 supervising officer.
       ( 0 ) (p) participate in one of the following location restriction programs and comply with its requirements as directed.
                 (0) (i) Curfew. You are restricted to your residence every day ( D) from _ _ __ _ to _ _ _ __ , or ( D ) as
                              directed by the pretrial services office or supervising officer; or
                 (0) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
                             medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
                             activities approved in advance by the pretrial services office or supervising officer; or
                 (0) (iii) Home Incarceration. You are restricted to 24-hour-a-day Jock-down at your residence except for medical necessities and
                             court appearances or other activities specifically approved by the court.
       (0) (q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
                 requirements and instructions provided.
                 (D ) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
                       supervising officer.
       ([g]) (r) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
                 arrests, questioning, or traffic stops.
       (0) (s) defendant agrees to participate in the Pretrial Alternative to Detention Initiative Program (PAD!) and to comply with the rules and

       <•)   (t)
                 regulations of this program.
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AO 199C (Rev. 09/08 ) Advice of Penalties

                                            ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS :

       Violating any of the foregoing conditions ofrelease may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both .
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine , or both, to : obstruct a criminal investigation;
tamper with a witness, victim, or inforITBnt; retaliate or attenpt to retaliate against a witness, victirµorinformant ; or intimidate or atterrpt
to intimidate a witness, victim , juror, inform ant, or officer of the couit. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions ofrelease require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed . If you are convicted of:
       ( 1) an offense punishable by death, life imprisonment, or imprisonment for a te1m of fifteen years or more - you will be fined
             not more than $250,000 or imprisoned for not more than IO years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony- you will be fined not more than $250 ,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor- you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or sunender may result in the fmfeiture of any bond posted .

                                                  Acknowledgment of the Defendant

       I acknowledge that I am the defendant inthis case and that I am aware of the conditions of release. I prorrise to obey all corrlitions
of release, to appear as directed,and surrender to serve any sentence imposed. I am aware of the penalties and sanctions setforth above.




                                                            \                         \
                                                            s/ Willie Hedden




                                                                                 ':]            City and State



                                                Directions to the United States Marshal

( X) The defendant is ORDERED released after processing .
(  ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
     has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before

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                                                                     s/ Tom Schanzle-Haskins
                                                                                                          J/4
Date:
            ✓      r )                                                                                      ignature

                                                                                          e-Haskins, U.S. Magistrate Judge
                                                                                            Prinled name and title




                       DISTRJB UTION:   COURT    DEFENDANT        PRETRIAL SERVICE         US ATTORNEY           U.S. MARSHAL
